    Case: 1:17-md-02804-DAP Doc #: 5210 Filed: 09/29/23 1 of 3. PageID #: 623829




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

   IN RE: NATIONAL PRESCRIPTION                    )    MDL 2804
   OPIATE LITIGATION                               )
                                                   )    Case No. 1:17-md-2804
   THIS DOCUMENT RELATES TO:                       )
                                                   )    Judge Dan Aaron Polster
   Cases Indicated in the Chart Below              )
                                                   )    ORDER
                                                   )

         The defendants identified in the chart below move for their dismissal from certain cases

  for failure of plaintiff to properly perfect service. In all cases listed, the motions are unopposed.

  Accordingly, defendants’ motions to dismiss are GRANTED. Defendants are hereby dismissed

  with prejudice from these cases according to the chart below, pursuant to the Court’s April 6, 2023

  Orders (MDL docket nos. 4985 & 4986).



                                                                                         Docket No. of
 Case No.                   Plaintiff                  Defendant to be Dismissed
                                                                                        Motion to Dismiss
17-op-45148    Vernon County                       KVK-Tech, Inc.                              21
18-op-45176    Guayanilla                          Amneal Pharmaceuticals, Inc.                20
18-op-45197    Municipality of Sabana Grande       Amneal Pharmaceuticals, Inc.                24
18-op-45197    Municipality of Sabana Grande       Mylan Pharmaceuticals, Inc.                 24
18-op-45197    Municipality of Sabana Grande       Indivior Inc.                               24
18-op-45594    City of Harrisburg                  Sandoz, Inc.                                16
18-op-45594    City of Harrisburg                  Mylan Pharmaceuticals, Inc.                 16
18-op-45594    City of Harrisburg                  Amneal Pharmaceuticals, Inc.                16
    Case: 1:17-md-02804-DAP Doc #: 5210 Filed: 09/29/23 2 of 3. PageID #: 623830




                                                                                 Docket No. of
 Case No.                Plaintiff                  Defendant to be Dismissed
                                                                                Motion to Dismiss
                                                Hikma Pharmaceuticals USA              16
18-op-45594   City of Harrisburg                Inc. f/k/a West-Ward
                                                Pharmaceuticals Corp.
18-op-45599   City of Princeton                 Sandoz, Inc.                           12
18-op-45599   City of Princeton                 Mylan Pharmaceuticals, Inc.            12
18-op-45599   City of Princeton                 Amneal Pharmaceuticals, Inc.           12
                                                Hikma Pharmaceuticals USA              12
18-op-45599   City of Princeton                 Inc. f/k/a West-Ward
                                                Pharmaceuticals Corp.
18-op-45756   St. Bernard Parish Government     Indivior Inc.                          42
18-op-45756   St. Bernard Parish Government     Associated Pharmacies, Inc.            41
18-op-45937   County of Hudson                  Sandoz, Inc.                           42
18-op-45937   County of Hudson                  Mylan Pharmaceuticals, Inc.            42
18-op-45937   County of Hudson                  Amneal Pharmaceuticals, Inc.           42
                                                Hikma Pharmaceuticals USA              42
18-op-45937   County of Hudson                  Inc. f/k/a West-Ward
                                                Pharmaceuticals Corp.
18-op-46066   Lanier                            Amneal Pharmaceuticals, Inc.           55
18-op-46338   Grady                             Amneal Pharmaceuticals, Inc.           47
19-op-45444   Avoyelles Parish Police Jury      Smith Drug Company                     12
19-op-45445   Calcasieu Parish Police Jury      Smith Drug Company                     10
19-op-45448   Sabine Parish Police Jury         Smith Drug Company                     10
19-op-45449   City of Lake Charles              Smith Drug Company                     11
19-op-45450   Evangeline Parish Police Jury     Smith Drug Company                     11
19-op-45451   Vernon Parish Police Jury         Smith Drug Company                     10
19-op-45452   Morehouse Parish Police Jury      Smith Drug Company                     10
19-op-45453   East Carroll Parish Police Jury   Smith Drug Company                     11
19-op-45454   West Carroll Parish Police Jury   Smith Drug Company                     10
                                                Hikma Pharmaceuticals USA
19-op-45617   City of Nashville, GA             Inc. f/k/a West-Ward                   11
                                                Pharmaceuticals Corp.
19-op-45617   City of Nashville, GA             Amneal Pharmaceuticals, Inc.           11
20-op-45270   Natchitoches Parish Council       Amneal Pharmaceuticals, Inc.           12




                                                2
    Case: 1:17-md-02804-DAP Doc #: 5210 Filed: 09/29/23 3 of 3. PageID #: 623831




                                                                             Docket No. of
 Case No.                Plaintiff              Defendant to be Dismissed
                                                                            Motion to Dismiss
20-op-45270   Natchitoches Parish Council   Smith Drug Co.                         12
                                            Hikma Pharmaceuticals USA
22-op-45019   City of Gulf Shores           Inc. f/k/a West-Ward                   11
                                            Pharmaceuticals Corp.


  IT IS SO ORDERED.


                                            /s/ Dan Aaron Polster_September 29, 2023_
                                            DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE




                                            3
